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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )               Case No. 8:06CR116
                    Plaintiff,               )
                                             )
      vs.                                    )
                                             )                     ORDER
EVEREADA KOURIS,                             )
                                             )
                    Defendant.               )


      This case is before the court on the defendant’s Motion to Modify Conditions of

Release [105].

      The defendant’s motion contains no information that was not known or readily

ascertainable by the defendant at the August 1, 2006 bond hearing, nor does it contain any

information that would cause the court to amend its August 1, 2006 Order Setting

Conditions of Release [98].

      IT IS ORDERED:

      1. Defendant’s Motion to Modify Conditions of Release [105] is denied without

hearing.

      Dated this 23rd day of August 2006.

                                          BY THE COURT:


                                          S/ F. A. Gossett
                                          United States Magistrate Judge
